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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

     ELIZABETH SINES, et al.,
                                                          CASE NO. 3:17-cv-00072
                                       Plaintiffs,

                            v.                            ORDER

     JASON KESSLER, et al.,
                                                          JUDGE NORMAN K. MOON
                                        Defendants.



          Defendant Christopher Cantwell, proceeding pro se, has filed a Motion for Service by the

   U.S. Marshals Service of Subpoenas upon four non-party witnesses (Dwayne Dixon, Thomas

   Massey, Paul Minton, and Lindsey Moers) to appear at trial. Dkt. 1133. The Court considered

   this motion and Plaintiffs’ response arguing that the Court lacks authority to issue the subpoenas

   and should deny the motion. Dkt. 1194.

          Rule 45 of the Federal Rules of Civil Procedure provides that “[a] subpoena may

   command a person to attend a trial, hearing, or deposition only as follows: (A) within 100 miles

   of where the person resides, is employed, or regularly transacts business in person; or (B) within

   the state where the person resides, is employed, or regularly transacts business in person, if the

   person (i) is a party or a party’s officer; or (ii) is commanded to attend a trial and would not incur

   substantial expense.” Fed. R. Civ. P. 45(c)(1). The subpoenas submitted by Cantwell on their

   face show that each of the four non-party witnesses resides outside Virginia and beyond the

   reach of Fed. R. Civ. P. 45(c)(1). Indeed, they appear to reside in Florida, Pennsylvania, and

   Durham, North Carolina, see Dkt. 1133 at 3, 6, 9, 12, and there is no information in Cantwell’s

   motion to the contrary, see Dkt. 1133. The Court therefore lacks the power under Rule 45(c) to

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   issue a subpoena to the identified individuals. See In re Guthrie, 733 F.2d 634, 637 (4th Cir.

   1984) (“a nonparty witness outside the state in which the district court sits, and not within the

   100-mile bulge, may not be compelled to attend a hearing or trial”); Koenig v. Johnson, No.

   2:18-cv-3599, 2020 WL 635772, at *1 (D.S.C. Feb. 11, 2020) (“A subpoena that requires a non-

   party’s compliance outside of Rule 45’s geographical scope is invalid.”) (citation omitted). The

   fact that Cantwell is incarcerated or proceeding pro se, or even if he were granted in forma

   pauperis status, does not relieve him of his obligations to comply with Rule 45. See Bradley v.

   Lorillard Tobacco Corp., No. 8:13-cv-227, 2014 WL 12628519, at *1 n.1 (M.D. Fla. June 25,

   2014) (“Although Plaintiff is currently incarcerated and proceeding in forma pauperis, he must

   still comply with the Federal Rules of Civil Procedure, including the requirements of Rule 45

   regarding subpoenas ….”).

          Given that Cantwell’s motion requests the Court to issue subpoenas which would be

   invalid, the Court will DENY Cantwell’s motion, without prejudice. Dkt. 1133.

          It is so ORDERED.

          The Clerk of the Court is directed to send a certified copy of this Order to the parties, to

   Mr. Cantwell, and to the United States Marshals Service.

          Entered this 15th day of October, 2021.




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